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     Facsimile: (503) 763-3901

     Of Attorneys for Defendants Columbia County,
     Butch Guess, David Peabody, Shawn McQuiddy
     and Brian Pixley




                                  IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION


     MISTY FOX, an individual,

                     Plaintiff,                        No. 3:20-cv-1154-HZ

            v.
                                                       OFFER OF JUDGMENT
     COLUMBIA COUNTY, a political
     subdivision of the state of Oregon, TCB
     SECURITY SERVICES,
     INCORPORATED, an Oregon domestic
     corporation, BUTCH GUESS, an individual,
     DAVID PEABODY, in his official and
     individual capacities, SHAWN MCQUIDDY,
     in his individual and official capacities,
     BRIAN PIXLEY, in his official and
     individual capacities,

                     Defendants.

            Pursuant to Fed. R. Civ. P. 68, and subject to the conditions expressed below, Defendants

     Columbia County, Butch Guess, David Peabody, Shaun McQuiddy and Brian Pixley hereby offer to

Page 1 -   OFFER OF JUDGMENT                                                 KRAEMER & LEWIS
                                                                               Not a Partnership
                                                                Employees of CIS (Citycounty Insurance Services)
                                                                                 P.O. Box 1469
                                                                            Lake Oswego, OR 97035
                                                                           Telephone: (503) 763-3875
                                                                           Facsimile: (503) 763-3901
               Case 3:20-cv-01154-HZ            Document 27        Filed 02/10/21          Page 2 of 3




     allow judgment to be entered against them in the amount of $25,100.00, plus costs and reasonable

     attorney fees incurred to the date of this Offer, in an amount to be determined by the court if counsel

     cannot reach mutual agreement.

             Underlying condition: on the same day that this Offer is accepted, Plaintiff will voluntarily

     dismiss all claims against Defendant TCB Security Services, Incorporated, with prejudice and

     without costs or attorney fees and will thereby agree not to pursue any further claims against any

     other person or entity related to the events at issue in this lawsuit.

             This Offer is made for the purposes specified in Fed. R. Civ. P. 68 and is not to be construed

     as an admission of liability or fault by the Defendants. The purpose of this Offer is to resolve all of

     Plaintiff’s claims against any and all Defendants without the need for further litigation.

             To accept this Offer, Plaintiff must serve written notice of acceptance within fourteen (14)

     days of the date this offer is made.

             DATED this 9th day of February 2021.

                                                              KRAEMER & LEWIS


                                                      By:     s/ David C. Lewis
                                                              David C. Lewis, OSB No. 953348
                                                              Lauren E. Nweze, OSB No. 145218
                                                              Of Attorneys for Defendants Columbia
                                                              County, Butch Guess, David Peabody,
                                                              Shawn McQuiddy and Brian Pixley

             Defendants’ Offer of Judgment is hereby accepted by plaintiff.

     DAY LAW, P.C.


                                                               DATED: February 9th, 2021
     Ross Day, OSB #002395
     ross@daylawpc.com
     Day Law, P.C.
     P.O. Box 30148
     Portland, Oregon 97294
     T:(503) 747-2705
     Attorney for Plaintiff

Page 2 -   OFFER OF JUDGMENT                                                       KRAEMER & LEWIS
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                                       CERTIFICATE OF SERVICE
            I hereby certify that on the 9th day of February 2021, I served the foregoing OFFER OF

     JUDGMENT, on the following parties at the following addresses:

            Ross Day
            ross@daylawpc.com
            Day Law, P.C.
            P.O. Box 30148
            Portland, Oregon 97294
            Attorney for Plaintiff

            Christopher E. Hawk
            chawk@grsm.com
            Noah H. Morss
            nmorss@grsm.com
            Gordon Rees
            1300 SW Fifth Ave., Ste. 2000
            Portland, OR 97201
            Attorney for Defendant TCB Security

     by emailing to them at the email addresses above and mailing to them a true and correct copy

     thereof, certified by me as such, placed in a sealed envelope addressed to them at the addresses set

     forth above, and deposited in the U.S. Post Office at Portland, Oregon on said day with postage

     prepaid.


                                                           s/ David C. Lewis
                                                          David C. Lewis, OSB No. 953348
                                                          Of Attorneys for Defendants Columbia County,
                                                          Butch Guess, David Peabody, Shawn
                                                          McQuiddy and Brian Pixley




Page 1 -   CERTIFICATE OF SERVICE                                               KRAEMER & LEWIS
                                                                                  Not a Partnership
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                                                                              Facsimile: (503) 763-3901
